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UNITED S'I`ATES DISTRICT COURT

DISTRICT OF MARYLAND
(`HAMBERS OF U.S. COURTHOUSE
CATHER|NE C. BLAKE 101 WEST LOMBARD STREET
liNITED STATES DlSTRlCT JUDGE BALTIMORE. MARYLAND 2!20|

{4 l 0) 962-3220
Fax (410) 962-6836

November 19, 2018

MEMORANDUM TO COUNSEL

In Re: The APPHCGNO" Ofl‘h€ Balfimw'€ Sunfor Access to Certain Sealed
Court Records

Dear Counsel:

Considering the Order to unseal documents entered on November 16, 2018,
please advise the court by November 29, 2018 if there is any reason this case Should
not be closed.

Sincerely yours,

/S/ fm

Catherine C. Blake
United States District Judge

